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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA            :
                                    :
                                    :     Docket No. 3:17-CR-257
      v.                            :
                                    :     (Mannion, J.)
ANTHONY FRANK ANGELI, JR.           :
                                    :
            Defendant               :
________________________________________________________________________

                            CERTIFICATE OF CONCURRENCE

       NOW, this 23rd day of May, 2018, at approximately 2:30 P.M. undersigned counsel

spoke with Assistant U.S. Attorney Jenny P. Roberts and she indicated that she DOES NOT

OBJECT to Attorney Ernest D. Preate, Jr.’s Motion to Withdraw as Counsel for Defendant,

Anthony Frank Angeli, Jr.




Date: May 23, 2018                               /S/Ernest D. Preate, Jr., Esquire
                                                 Ernest D. Preate, Jr., Esquire
